21-11298-lgb         Doc 32      Filed 08/24/21 Entered 08/24/21 11:38:26               Main Document
                                              Pg 1 of 2



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Attorneys for the Debtor and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                           Chapter 11

286 RIDER AVE ACQUISITION LLC,                                   Case No: 21-11298-lgb

                                       Debtor.
----------------------------------------------------------X
                             CORRECTED CERTIFICATE OF SERVICE
NATHANAEL F. MEYERS, hereby certifies under penalty of perjury:
          1. I am not a party to the action, am over 18 years of age and reside in Hamilton, New
Jersey.
          2. On the 12th day of August, 2021, I served true and correct copies of Second
Application Pursuant To Bankruptcy Rule 1007 for an Order Granting an Extension of Time To
File Its Statement of Financial Affairs and Schedules [Doc. No. 19] via First-Class Mail upon the
attached Service List by depositing true copies of same enclosed in pre-paid, properly addressed
wrappers in an official depository under the exclusive care and custody of the United States
Postal Service within the State of New York.


Dated: August 13, 2021
                                                              /s/ Nathanael F. Meyers
                                                              Nathanael F. Meyers




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21-11298-lgb        Doc 32   Filed 08/24/21 Entered 08/24/21 11:38:26   Main Document
                                          Pg 2 of 2



Schedules Extension Service List as of 8/12/21

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William K. Harrington, United States Trustee
U.S. Department of Justice
Office of the United States Trustee
201 Varick Street, Room 1006
New York, NY 10014
(Attn.: Greg Zipes, Esq.)




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